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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

TALIAH WHITFIELD,               }
                                }
                    Plaintiff,  }
                                }
v.                              }                     Cause No. 4:13-CV-1979 SNLJ
                                }
DILLARDS DEPARTMENT STORE,      }
FELICIA REUM, LARRY BEERMAN, }
DAVID BRENNAN, & JAMES BOWIE, }
                                }
                    Defendants. }

                                 AMENDED COMPLAINT

        COMES NOW Taliah Whitfield, by and through counsel, Rufus J. Tate, Jr., and for her

Amended Complaint pursuant to Rule 15(1)(B) states the following:

                                            Parties

   1)      Taliah Whitfield (“Plaintiff”) was at all pertinent times herein an African-American

           customer of Dillards Department Store (“Dillards”);

   2)      Defendant Felicia Reum (“Reum”) was at all pertinent times herein a Caucasian-

           American Dillards’ employee. She is sued in her individual capacity as well as her

           employee capacity under the doctrine of respondeat superior;

   3)      Defendant David Brennan (“Brennan”) was at all times herein a Causcasian-

           American, City of Richmond Heights police officer working private duty as a

           Dillards’ security officer. He is sued in his individual capacity and as a Dillards’

           employee;




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4)     Defendant James Bowie (“Bowie”) was at all times herein a City of Richmond

       Heights police sergeant working private duty on the Dillards’ security detail. He is

       sued in his individual capacity and as a Dillards’ employee;

                                          Venue

5)     Venue is appropriate in this division because all acts and/or omissions complained of

       occurred herein;

                               Subject-matter Jurisdiction

6)     This Court has subject-matter jurisdiction over the federal claims herein pursuant to

       28 U.S.C. § 1343;

                              Common Factual Allegations

7)     Prior to being ejected, manhandled, tased, forced to urinate on herself at Dillards

       Galleria, and jailed, Plaintiff was employed as a (substitute) school teacher;

8)     On September 1, 2008, Plaintiff was waiting patiently in line at Reum’s cash register

       to pay for the merchandise she desired;

9)     Although Plaintiff had waited her turn, Reum took a Caucasian-American customer

       ahead of Plaintiff. Plaintiff had been waiting in line before the other customer ever

       arrived in line;

10)    Because Reum preferred to handle the Caucasian-American customer ahead of

       Plaintiff, Plaintiff voiced her concern and respectfully requested to speak to Reum’s

       manager;

11)    Instead of summoning her manager, Reum summoned Dillards’ privately-owned

       security detail;




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12)    When security officer Brennan arrived, Reum can be observed on video surveillance

       gently rubbing Brennan’s back before sending him to eject Plaintiff from the

       premises;

13)    Brennan did not attempt to arrest Plaintiff for any crime or infraction at any time

       while they were on the lower level;

14)    Without any investigation of Plaintiff’s concern about racial preferences, Brennan

       advised Plaintiff to leave Dillards;

15)    Plaintiff complied with Brennan’s order;

16)    Brennan never announced Plaintiff was under arrest;

17)    When Plaintiff exited the doors, two Dillards’ security officers had physical control

       of each of Plaintiff’s arms and had her facing against an exterior wall;

18)    Firmly in the grasp of the officers, Plaintiff posed absolutely no danger to any one;

19)    Regardless, Defendant Bowie tased Plaintiff in the back, temporarily disabling

       Plaintiff, causing her to fall to the ground and to urinate on herself;

20)    Before he shot Plaintiff in the back, Bowie announced to the two officers firmly

       holding her his intent to discharge his taser, causing the officer to unhand the

       Plaintiff;

21)    Neither Bowie nor any other security officer intervened to protect Plaintiff from an

       unnecessary shot in her back;

22)    Brennan witnessed the entire incident, and heard Bowie announce his intent;

23)    Beerman did not order Bowie to stand down or otherwise intervene to protect

       Plaintiff from being tased in her back;

24)    Bowie ordered Plaintiff transported by ambulance to jail—not a hospital;




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   25)      At the Richmond Heights’ city jail, Brennan and Bowie first fabricated charges

            against Plaintiff of municipal ordinance violation(s): Disorderly conduct, Resisting

            Arrest, Assaulting Police Officer, and Failure to Comply;

   26)      Brennan and Bowie set or caused the bond to be set at $3,000 CASH—an extremely

            high amount in municipal court—believing that Plaintiff would remain jailed in

            Richmond Heights for several days to teach Plaintiff a lesson;

   27)      When Plaintiff’s family posted the requisite bond, Brennan and Bowie concocted a

            new, exaggerated story, and applied for felony warrants with the Office of the St.

            Louis County Prosecuting Attorney;

   28)      At all pertinent times herein, an Assistant St. Louis County Prosecuting Attorney

            served as the municipal prosecutor for Richmond Heights. That prosecutor, Steve

            O’Brien, did not order either Brennan or Bowie to request any FELONY charges

            against Plaintiff;

   29)      Bowie and Brennan applied for felony warrants with a prosecutor with less than 1

            year of experience at that time;

                                               Count I
                                  Deprivation of Contractual Rights

         Plaintiff incorporates by reference each of the foregoing factual allegations as though

fully restated herein and for her claim of Deprivation of Contractual Rights pursuant to 42 U.S.C.

§ 1981 states the following:

   30)      Plaintiff was a member of a protected class: African-American;

   31)      Plaintiff attempted to purchase Dillards’ merchandise by standing in line at the cash

            register until it was her turn to pay;




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32)    Before Plaintiff reached the front of the line, Reum had taken other customers in the

       order in which they appeared in line;

33)    In connection with her attempt to consummate her contractual relationship, Reum

       impaired or interfered with the contract by (i) passing over Plaintiff for a Causcasian-

       American who entered the line after Plaintiff and (ii) retaliating against Plaintiff for

       threatening to tell Reum’s manager of her racial preferences by causing Brennan and

       others to make an example of Plaintiff by manhandling her in front of other

       Caucasian-American and African-American patrons;

34)    Reum retaliated against Plaintiff by summoning security and concocting a story of

       racial divisiveness in an attempted to have Plaintiff ejected from Dillards before

       Plaintiff could speak with Reum’s manager;

35)    Reum attempted to chill Plaintiff’s First Amendment right to complain to

       management by suppressing any opportunity for Plaintiff to communicate with

       Dillards’ management, and to ensure that neither Plaintiff nor any other African-

       American would ever contemplate complaining about Reum taking a Caucasian-

       American customer ahead of Plaintiff;

36)    Reum unilaterally prevented Plaintiff from ever completing her purchase transaction

       by summoning Brennan;

37)    Brennan ensured that Plaintiff could not complete her purchase transaction by not

       only ejecting Plaintiff but also by fabricating false and unnecessary criminal charges

       against Plaintiff;




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   38)       Reum and Brennan caused Plaintiff to suffer injury, including but not limited to job

             loss at Normandy School District, lost wages, pain, humiliation, embarrassment,

             attorney’s fees in collateral litigation, and emotional distress;

   39)       Exemplary damages are necessary and appropriate because Defendants’ misconduct

             warrants punishment sufficient to deter them and their colleagues from engaging in

             similar misconduct in the future;

   40)       At all pertinent times herein, Reum acted within the course and scope of her

             employment with Dillards, and acted to further Dillards’ business interests;

   41)       At all pertinent times herein, Brennan acted within the course and scope of his

             employment with Dillards, and acted to further Dillards’ business interests;

   42)       At all pertinent times herein, Brennan acted as an agent for Reum and to further

             further Reum’s interests;

         For the foregoing reasons, Plaintiff respectfully requests judgment in her favor and

against Reum, Brennan, and Dillards, jointly and severally, for compensatory damages,

exemplary damages, interest, attorney’s fees, costs, and whatever other relief this Court deems

necessary and appropriate.

                                                   Count II
                                             1983 Excessive Force

         Plaintiff incorporates by reference each of the foregoing factual allegations as though

fully restated herein and for her claim of Excessive Force pursuant to 42 U.S.C. § 1983 states the

following:

   43)       At all pertinent times herein, the Fourth Amendment protected Plaintiff’s

             constitutional rights against unreasonable seizures and excessive force;




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44)    At all pertinent times herein, the Fourteenth Amendment extended the

       aforementioned constitutional protections to actions by municipal Richmond Heights

       officers and/or those acting in concert with them;

45)    Bowie’s tasing of Plaintiff in her back violated Plaintiff’s constitutional rights

       because such force was unnecessary and unjustified because Plaintiff was in the grips

       of two other security officers before he tased Plaintiff, and Plaintiff’s back was to

       each security officer;

46)    Plaintiff did not consent to being tased in the back;

47)    Bowie has no discretion under law to tase anyone in the back who did not first pose

       an imminent threat of serious physical injury to himself or others;

48)    Assuming Plaintiff was under arrest at the time Bowie tased Plaintiff,

       a. Not even Brennan believed that the circumstances leading to Plaintiff’s ejectment

           warranted criminal charges; and

       b. Plaintiff was under arrest for invoking her First Amendment Right to speak with

           Reum’s manager;

49)    Bowie’s tasing of Plaintiff served no legitimate law enforcement purpose because

       Bowie opted to use a weapon against an unarmed woman in the grasp of other

       officers;

50)    Neither Bowie nor Brennan have ever shot any Caucasian-American male or female

       in the back with a taser;

51)    Bowie would not have shot Plaintiff in the back but for Brennan’s misguided effort to

       arrest Plaintiff for Reum’s purposes;




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   52)      At all pertinent times herein, Brennan acted within the course and scope of his

            employment with Dillards, and acted to further Dillards’ business interests;

   53)      At all pertinent times herein, Brennan acted as an agent for Reum and to further

            Reum’s interests;

   54)      At all pertinent times herein, Bowie acted within the course and scope of his

            employment with Dillards, and acted to further Dillards’ business interests;

   55)      At all pertinent times herein, Bowie acted as an agent for Brennan and to further

            Brennan’s interests;

   56)      At all pertinent times herein, Brennan and Bowie acted under color of law;

         For the foregoing reasons, Plaintiff respectfully requests judgment in her favor and

against Reum, Bowie, Brennan and Dillards, jointly and severally, for compensatory damages,

exemplary damages, interest, attorney’s fees, costs, and whatever other relief this Court deems

necessary and appropriate.

                                             Count III
                                         Failure to Protect

         Plaintiff incorporates by reference each of the foregoing factual allegations as though

fully restated herein and for her claim of Failure to Protect or Intervene pursuant to 42 U.S.C. §

1983 states the following:

   57)      The aforementioned constitutional provisions simultaneously compelled Brennan and

            the other officers to protect Plaintiff against Bowie’s unjustified, known intent to tase

            Plaintiff in the back;

   58)      Brennan heard Bowie announce his intent to tase Plaintiff in her back, and did not

            intervene or order Bowie to cease and desist;




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   59)      Based upon his prior training, Brennan knew that tasing Plaintiff in the back was

            unreasonable under the circumstances;

   60)      At all pertinent times herein, Brennan acted within the course and scope of his

            employment with Dillards, and acted to further Dillards’ business interests;

   61)      At all pertinent times herein, Brennan acted as an agent for Reum and to further

            Reum’s interests.

         For the foregoing reasons, Plaintiff respectfully requests judgment in her favor and

against Reum, Brennan, and Dillards, jointly and severally, for compensatory damages,

exemplary damages, interest, attorney’s fees, costs, and whatever other relief this Court deems

necessary and appropriate.


Respectfully submitted,


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